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                            UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

  JUAN LOZADA-LEONI                                    §
                                                       §
         Plaintiff,                                    §
                                                       §      Case No. 4:20-cv-00068-RWS-CMC
         v.                                            §
                                                       §
  MONEYGRAM INTERNATIONAL, INC. and                    §
  MONEYGRAM PAYMENT SYSTEMS, INC.                      §
                                                       §
         Defendants.                                   §



                 UNOPPOSED MOTION TO EXTEND DISCOVERY DEADLINE


         Now Comes Plaintiff, Juan Lozada-Leoni, and moves the court and respectfully request

  that the discovery deadline set in the Second Amended Docket Control Order (Doc. 87) be

  extended until July 31, 2020. The extension will not affect the trial setting. Defendants’ counsel

  do not oppose an extension.

  1.     The Plaintiff moves for an order extending the deadline set for the completion of two of

  the five remaining depositions. All five depositions have been set and noticed for dates in June

  2020 prior to the expiration of the deadline. However, Sylvia Gil’s deposition was moved to

  June 30th (1 day after the discovery deadline) by agreement of both sides.

  2.     Dana Johnson’s deposition was scheduled for June 24, 2020.            Ms. Johnson is an

  employee of SuperValu, who is not a party to this lawsuit. The Sunday prior to her deposition,

  Plaintiff’s counsel received notice from Ms. Johnson’s attorney that she had been in contact with

  a person who had tested positive for COVID 19 and would need to be in quarantine for two

  weeks. See Ex. 1. Subsequently, Ms. Johnson’s attorney proposed July 7, 8 or 9 for the




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  rescheduling of her deposition. Plaintiff’s counsel has agreed to July 8 or 9, but has not yet

  heard from Defendant’s counsel on the specific dates for rescheduling (although Defendant’s

  counsel has agreed to the postponement, see Ex. 2). Out of an abundance of caution, and not

  knowing specific availability at this time, Plaintiff has asked for an extension through July 31,

  2020 should the additional time be necessary to accommodate Defendant’s counsel.

  3.     The court may grant a request for an extension of time for “cause shown.” FED. R. CIV.

  P. 6(b). Federal Rule of Civil Procedure 16(b)(4) provides that a scheduling order may only be

  modified “for good cause and with the judge's consent.” The Fifth Circuit has explained that

  “[t]he good cause standard requires the ‘party seeking relief to show that the deadlines cannot

  reasonably be met despite the diligence of the party needing the extension.’ ” S & W Enters.,

  L.L.C. v. SouthTrust Bank of Ala., NA, 315 F.3d 533, 535 (5th Cir.2003). In other words, the

  party who seeks to modify a scheduling order deadline must show that, despite acting diligently,

  it will still be unable to meet that deadline. Hernandez v. Mario's Auto Sales, Inc., 617 F. Supp.

  2d 488, 492 (S.D. Tex. 2009). The parties have been diligent in pursuing these depositions in

  this case but there have been a number of factors imposing delay as set forth below.

  4.     The parties do not seek to extend the discovery deadline for all reasons and asks only for

  the amount of time necessary to reschedule Ms. Johnson and accommodate all schedules.

         WHEREFORE, the parties pray that the Court grant this Motion and enter the Order to

  Extend the Discovery Deadline to allow the parties to depose Sylvia Gil and Dana Johnson.

                                               Respectfully submitted,


                                               /s/Susan E. Hutchison
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                                  CERTIFICATE OF SERVICE

          This is to certify that on June 22, 2020, a true and correct copy of the above and
  foregoing document was served on the following attorneys of record by delivery to each of them
  via facsimile transmission:

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                                             s/Susan E. Hutchison
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                                CERTIFICATE OF CONFERENCE

         Plaintiff’s counsel conferred with Defendants’ counsel (Please See Exhibits). They are

  not opposed to this motion.

                                                    s/Susan E. Hutchison
                                                    Susan E. Hutchison




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